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                                                                             E-FILED
                                           Wednesday, 13 December, 2006 02:47:06 PM
                                                         Clerk, U.S. District Court, ILCD
           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,              )
                                       )
                Plaintiff,             )
                                       )
           v.                          )      No. 05-30033
                                       )
CORDELL JAMES,                         )
                                       )
                Defendant.             )

                                OPINION

JEANNE E. SCOTT, U.S. District Judge:

     This matter came before the Court on December 11, 2006, for the

sentencing of Defendant Cordell James. Defendant James appeared in

person and by his attorney Assistant Federal Public Defender Douglas

Beevers. The Government appeared by Assistant U.S. Attorney David

Risley. On January 6, 2006, Defendant James pleaded guilty to the charge

of Conspiracy to Distribute Cocaine and Cocaine Base (“Crack”), in

violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846, as alleged in

Count 1 of the Indictment (d/e 16). The United States Probation Office

prepared a Revised Presentence Investigation Report (PSR), dated August

25, 2006. The Government had no objections to the PSR.

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     Defendant James objected to the finding in paragraph 18 of the PSR

that he intentionally pointed a weapon at law enforcement officers, knowing

they were officers. He admitted that he pointed the weapon at them, but

he did not know they were law enforcement officers, and he admitted that

his actions were reckless. The Court, by agreement of the parties, revised

Paragraph 18 to indicate that the Defendant recklessly created a substantial

risk of death or serious bodily injury to other persons by pointing a gun at

them. The objection was then withdrawn.

      The Defendant had no additional objections to the PSR. The Court,

therefore, adopted the findings of the PSR as its own, subject to the

modifications of the findings in paragraph 18 noted above. Accordingly, the

Court found that Defendant Johnson had a final offense level of 39, and was

in Criminal History Category II; however, the statutory sentencing range for

Defendant James was mandatory life. 21 U.S.C. § 841(b)(1)(A). The

resulting Guideline Sentencing Range was therefore life, in Zone D of the

Guideline Range.     U.S.S.G. § 5G1.1(b).       The Court noted that the

Guidelines are advisory, and that the Court was required to exercise its

discretion to determine Defendant James’ sentence, considering the

Guidelines, the statutory sentencing factors, and all other relevant

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information. United States v. Booker, 543 U.S. 220 (2005); 18 U.S.C. §

3553(a).

     The Government then moved for a downward departure pursuant to

18 U.S.C. § 3553(e) for substantial assistance. The Court allowed the

motion for departure below the Guidelines and statutory minimum and

used 25 years as the point from which to begin calculating the departure in

order to avoid unwarranted sentencing disparity with the sentences received

by the co-defendants. 18 U.S.C. § 3553(a)(6). The Court determined that

a sentence of 210 months would be an appropriate sentence in this case.

     THEREFORE, after considering the case file, the evidence presented,

the Guidelines, the relevant statutory sentencing factors, the arguments of

counsel, and the statement of Defendant James, the Court sentenced

Defendant Cordell James to a term of 210 months imprisonment, to be

followed by 10 years of supervised release, and imposed a $100.00 special

assessment. The Court determined that no fine should be imposed. The

appeal rights were waived.

IT IS THEREFORE SO ORDERED.




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ENTER: December 12, 2006.

      FOR THE COURT:

                                       s/ Jeanne E. Scott
                                      JEANNE E. SCOTT
                                UNITED STATES DISTRICT JUDGE




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